       Case 1:25-cv-00503-PLM-SJB                      ECF No. 9-2, PageID.64                   Filed 07/01/25            Page 1 of 3


                                                                                            Exhibit 1
OocuSign Envelope ID: 35DFC0F9-8C92-4DF5-96EB-E0EB77435E49




                                                         TOLLING AGREEMENT

                      This Tolling Agreement ("Agreement"), dated as of the date finally executed below (the
              "Effective Date") is entered into by and between Assure Health Corporation 1 and Assure Health
              Care Everyday, LLC 2 (collectively "Assure"), on the one hand, and MSU Health Care, Inc. ("the
              Company") on the other. Assure and the Company are hereinafter referred to individually as a
              "Party," and collectively, as the "Parties."

                      WHEREAS, Assure believes that Roger Jansen, Chief Innovation and Digital Health
              Officer for the Company, published various statements that are false, defamatory, disparaging, and
              otherwise injurious toward Assure, and unlawfully interfered with Assure's business relationships;

                        WHEREAS, Assure believes that it has valid claims against the Company; and

                      WHEREAS, the Parties desire to preserve the status quo to explore whether a resolution is
              possible prior to litigation;

                     NOW THEREFORE, in consideration of the mutual covenants set forth herein, and for
              good and valuable consideration, IT IS HEREBY AGREED THAT:

                   1. Tolling: The Parties agree that any time periods, statutes of limitation, statutes of repose,
                       !aches, contractual time limitations, contractual deadlines, or any other defense based on
                      the lapse of time (the "Limitations Periods") with respect to any claim, right, liability or
                      cause of action that could be brought by Assure against the Company, including any of its
                      directors, officers, and employees, including, without limitation, any common law or
                      statutory claims for defamation, tortious interference with business relations, or any other
                      claim, are hereby tolled, as provided in Section 2 of this Agreement, regardless of the
                      jurisdiction in which such claims could be brought. The Parties hereby stipulate and agree
                      that the Tolling Period (as defined below) shall be excluded from any Limitations Periods
                      and not considered in any determination of the timeliness of commencement of any action
                      or making any claims, and that the period of time during the Tolling Period shall not be
                      pled as part of a defense or bar based upon any Limitations Periods with respect to any
                      claim.

                  2. No Revival: Except as expressly provided herein, nothing in this Agreement shall affect
                     any defense available to any Party as of the Effective Date of this Agreement, and this
                     Agreement shall not be deemed to revive any claim that is or was already barred on the
                     Effective Date. Nothing in this Agreement, or in the circumstances which gave rise to this
                     Agreement, shall be constrned as an acknowledgement by any Party that any claim has or
                     has not been barred, or is about to be barred, by the statute of limitations, !aches, or other
                     defense based on the lapse of time.

                  3. Termination of the Tolling Agreement: The tolling of time periods provided for in Section

              1 Assure enters into this Agreement on its own behalf and also as the assignee and successor in interest to I-ligi Care

              Network (DE), P.A.
              2
                Assure Health Care Everyday, LLC was formerly, including at the time of the execution of the Collaboration
              Agreement with MSU Health Care, Inc., known as Higi Health, LLC.
      Case 1:25-cv-00503-PLM-SJB                  ECF No. 9-2, PageID.65           Filed 07/01/25        Page 2 of 3
OocuSign Envelope ID: 35DFC0F9-8C92-4DF5-96EB-E0EB77435E49




                       I of this Agreement shall commence on the Effective Date and shall terminate at J J :59 PM
                       Eastern Standard Time on October I, 2024 (this date being the "Termination Date"). The
                       period from the Effective Date to the Termination Date is the "Tolling Period." Either
                       party may terminate the Tolling Period upon no fewer than 15-days written notice to the
                       other party. Under such circumstance the Tolling Period shall cease on the date included
                       in the written notice, provided that it is no fewer than 15 days from the notice or October
                       I, 2024, whichever is earlier.

                   4. Non-Litigation During Tolling Period: During the Tolling Period, the Parties shall not
                      institute litigation against the other Party asserting any claim.

                   5. No Admission: This Agreement shal l not operate as an admission of, or evidence of,
                      liability or wrongdoing by any Party. Neither this Agreement nor any action taken pursuant
                      to this Agreement shall be offered or received in evidence in any action or proceeding as
                      an admission of liability or wrongdoing by any Party, or that there is any basis for any
                      claim against any Party.

                   6. Successor and Assigns: This Agreement is binding on the Parties and their successors and
                      assigns, including their successors and assigns by operation of law, their bankruptcy
                      estates, any Chapter 7 or 11 trustee and any other estate representative, trustee, receiver or
                      conservator in insolvency proceedings.

                  7. Sophisticated Parties Advised by Counsel: The Parties have entered into this Agreement
                     freely and voluntarily, after having consulted with counsel and after having the terms of
                     this Agreement explained to them by counsel. The Parties further agree that because each
                     Party has been active in the preparation and negotiation of the terms of this Agreement, it
                     shall not be construed against any Party based on their role in preparing this Agreement in
                     the event of any dispute as to the meaning of its terms.

                  8. Complete Integration: This Agreement constitutes the full and final agreement between the
                     Parties with respect to the subject matter hereof, and may be extended, modified, or
                     amended, only by written agreement signed by the Parties or their undersigned counsel.

                  9. Counterparts/Electronic Transmission: This Agreement may be executed in any number of
                     counterparts, each of which shall be deemed to be an original, but all of which together
                     shall constitute one and the same instrument. Delivery of an executed counterpart of a
                     signature page to this Agreement by telecopier or facsimile transmission or email shall be
                     effective as delivery of a manually executed counterpart of this Agreement.




                                                                2
       Case 1:25-cv-00503-PLM-SJB                 ECF No. 9-2, PageID.66      Filed 07/01/25    Page 3 of 3
DocuSign Envelope ID: 35DFC0F9-8C92-4DF5-96EB-E0EB77435E49




                       IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed and
               delivered as of the Effective Date.
                                        ,,,-
                       DATED this_>_day of April, 2024.


                MSU Health Care, Inc.                            Assure Health Cm·poration and
                                                                 Assure Health Care Everyday, LLC




                By:
                                                                    On behalf of Assure Health
                                                                    Corporation: Jeffrey Nadel, as
                                                                    CEO; and on behalf of Assure
                                                                    Health Care Everyday, LLC:
                                                                    Jeffrey Nadel, as President of
                                                                    Lake Michigan Partners, LLC,
                                                                    as Manager of Care Everyday
                                                                    Acqusition Vehicle, LLC, as
                                                                    Manager of Assure Health Care
                                                                    Everyday, LLC




                                                             3
